Case 3:21-cv-00830-K-BT Document 17-2 Filed 06/28/21                               Page 1 of 2 PageID 126




                            THE UNITED STATES DISTRICT COURT

                          FOR THE NORTHERN DISTRICT OF TEXAS



                                   CASE NO 3:21-CV-00830-K-BT



 Joe Hunsinger,



           Plaintiff Pro-Se'



 v,



 AFFORDABLE AUTO PROTECTION, LLC,



           Defendant



 SING FOR SERVICES, LLC dba MEPCO



           Defendant




 -----------------'
           AFFIDAVIT OF GUSTAV RENNY IN SUPPORT OF AFFORDABLE AUTO

           PROTECTION,LLC'S MOTION TO DISMISS PLAINTIFF'S COMPLAINT

              PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 1201)/6)




 STATE OF FLORIDA

 COUNTY OF PALM BEACH



           On this day, Gustav Renny appeared before me, the undersigned notary public. After I

 administered an oath to him, he stated:


      1.   My name is Gustav Renny and I am the Manager of Affordable Auto Protection, LLC.

      2.   I am competent to make this affidavit.

      3.   The facts stated in this affidavit are within my personal knowledge and are true and

           correct

      4.   Affordable Auto Protection, LLC does not own or lease any real estate in the State of

           Texas and has no office locations nor presence in the State of Texas.

      5.   Affordable Auto Protection, LLC has never conducted business operations of any kind in

           the State of Texas.

      6.    Affordable Auto Protection, LLC has never incurred or remitted taxes in the State of

           Texas.
                                                                                                            i
      7.   Affordable Auto Protection, LLC did not make pre-recorded calls to Plaintiff.

      8.   Affordable Auto Protection, LLC is not AAP and does not do business as AAP.                      I

                                                                                                            t
      9.   AAP is a registered d/b/a name of a different corporate entity that is independent of            £


           Affordable Auto Protection, LLC.

                                                                                                            I




                                                                                                            I


                                                                                                            i
                                                                                                            t




                                                                                                            I




                                           EXHIBIT "1"
                                                                                                            I
Case 3:21-cv-00830-K-BT Document 17-2 Filed 06/28/21                                  Page 2 of 2 PageID 127




     10. Affordable Auto Protection, LLC does not do any telemarketing and does not sell

        automobile warranties via telephone or telemarketing.

     1 1 . Affordable Auto Protection, LLC did not call Plaintiff and did not sell Plaintiff a MEPCO

        Vehicle Services Policy.

    12. Affordable Auto Protection, LLC is improperly named as a defendant in this action.




 AFFIANT SA YETH NOTHING MORE



  SIGNED ON the    22.
                    '1t:-
                       �  fJ
                           o 2021.
 Affordable Aut       te   ·   LLC's



 ls ' _"
    •
               '           "

 Title: Manager




                                                            +
 SWORN TO and SUBSCRIBED before me on this           tsd      day of June, 2021, to which witness

 my hand and official seal of office. _




                                                              .W;e.                JASON S. WEISS

                                                            /
                                                            fA...,ri
                                                                  �\          MYCOMMISSION#GG165363

                                                            z:;,         i'      ExPRES:   Asal   2,       2022
                                                            i,           g
                                                                         ,                rn           ·

                                                                   g;i@Bonded Thru Notary Pub#c Underwriters
